 Case 13-81765        Doc 58      Filed 12/04/13 Entered 12/06/13 23:40:53                    Desc Imaged
                                  Certificate of Notice Page 1 of 7


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  WESTERN DIVISION

       In re: JEPPSON, SCOTT E                                           §   Case No. 13-81765
              JEPPSON, CELESTE M                                         §
                                                                         §
   Debtor(s)                                                             §

                        NOTICE OF TRUSTEE'S FINAL REPORT AND
                          APPLICATIONS FOR COMPENSATION
                           AND DEADLINE TO OBJECT (NFR)

            Pursuant to Fed. R. Bankr. P.2002(a)(6) and 2002(f)(8), please take notice that
       JOSEPH D. OLSEN                            , trustee of the above styled estate, has filed a
       Final Report and the trustee and the trustee's professionals have filed final fee applications,
       which are summarized in the attached Summary of Trustee's Final Report and Applications
       for Compensation.

             The complete Final Report and all applications for compensation are available for
       inspection at the Office of the Clerk, at the following address:
             327 South Church Street, Room #1100
             Rockford, IL 61101

             Any person wishing to object to any fee application that has not already been approved or
       to the Final Report, must file a written objection within 21 days from the mailing of this notice,
       serve a copy of the objections upon the trustee, any party whose application is being challenged
       and the United States Trustee. A hearing on the fee applications and any objection to the Final
       Report will be held at 09:30am on 01/13/2014 in Courtroom 3100, United States Courthouse,
       327 South Court Street, #3100
       Rockford, IL 61101.
       If no objections are filed, upon entry of an order on the fee applications, the trustee may pay
       dividends pursuant to FRBP 3009 without further order of the Court.




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           Dated : 11/22/2013             By: /s/JOSEPH D. OLSEN
                                                                   Trustee
       JOSEPH D. OLSEN
       1318 EAST STATE STREET
       ROCKFORD, IL 61104-2228
       (815) 965-8635
       JOlsenlaw@comcast.net




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                                      UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF ILLINOIS
                                              WESTERN DIVISION

              In re: JEPPSON, SCOTT E                                                        §       Case No. 13-81765
                     JEPPSON, CELESTE M                                                      §
                                                                                             §
         Debtor(s)                                                                           §

                                   SUMMARY OF TRUSTEE'S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION


                     The Final Report shows receipts of                                          $          51,246.55

                     and approved disbursements of                                               $               248.06
                                                            1
                     leaving a balance on hand of                                                $          50,998.49

                                                          Balance on hand:                                   $              50,998.49
                Claims of secured creditors will be paid as follows:

 Claim          Claimant                                       Claim Allowed Amount Interim Payments                         Proposed
 No.                                                         Asserted       of Claim          to Date                        Payment
                                                                 None
                                                          Total to be paid to secured creditors:             $                   0.00
                                                          Remaining balance:                                 $              50,998.49

                Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                                         Total Requested Interim Payments                  Proposed
                                                                                                    to Date                 Payment
Trustee, Fees - JOSEPH D. OLSEN                                                     5,812.33                     0.00          5,812.33
Trustee, Expenses - JOSEPH D. OLSEN                                                   546.37                     0.00            546.37
Attorney for Trustee, Fees - Yalden, Olsen & Willette                               2,912.00                     0.00          2,912.00
                                 Total to be paid for chapter 7 administration expenses:                     $               9,270.70
                                 Remaining balance:                                                          $              41,727.79




                 1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
   earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
   receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
   account of the disbursement of the additional interest.

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                                        Certificate of Notice Page 4 of 7
               Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                               Total Requested Interim Payments          Proposed
                                                                                         to Date         Payment
                                                        None
                             Total to be paid for prior chapter administrative expenses:    $                 0.00
                             Remaining balance:                                             $            41,727.79

             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $0.00 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments            Proposed
No                                                                    of Claim          to Date           Payment
                                                        None
                                                 Total to be paid for priority claims:      $                 0.00
                                                 Remaining balance:                         $            41,727.79
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 109,978.03 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 37.9 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments            Proposed
No                                                                    of Claim          to Date           Payment
  1            Asset Acceptance LLC assignee BANK OF                   4,966.60                 0.00        1,884.42
               AMERICA
  2            Atlas Acquisitions LLC (GE Money Bank)                    898.18                 0.00          340.79
  3            Asset Acceptance LLC assignee CITIBANK                 23,457.90                 0.00        8,900.38
  4            Tri-State Adjustments                                      64.00                 0.00           24.28
  5            Tri-State Adjustments                                     104.39                 0.00           39.61
  6            American Express Bank, FSB                             10,854.30                 0.00        4,118.33
  7            Northwest Bank of Rockford                             66,101.75                 0.00       25,080.28
  8            Nicor Gas                                                 492.45                 0.00          186.85
  9            LVNV Funding, LLC its successors and                    3,038.46                 0.00        1,152.85
               assigns as




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                              Total to be paid for timely general unsecured claims:               $           41,727.79
                              Remaining balance:                                                  $                0.00


            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                           Allowed Amount Interim Payments               Proposed
No                                                                       of Claim          to Date              Payment
                                                          None
                              Total to be paid for tardy general unsecured claims:                $                    0.00
                              Remaining balance:                                                  $                    0.00


             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                           Allowed Amount Interim Payments               Proposed
No                                                                       of Claim          to Date              Payment
                                                           None
                                                    Total to be paid for subordinated claims: $                        0.00
                                                    Remaining balance:                        $                        0.00




                                                Prepared By: /s/JOSEPH D. OLSEN
                                                                                             Trustee

             JOSEPH D. OLSEN
             1318 EAST STATE STREET
             ROCKFORD, IL 61104-2228
             (815) 965-8635
             JOlsenlaw@comcast.net


             STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
             Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                       United States Bankruptcy Court
                                       Northern District of Illinois
In re:                                                                                    Case No. 13-81765-TML
Scott E Jeppson                                                                           Chapter 7
Celeste M Jeppson
         Debtors
                                         CERTIFICATE OF NOTICE
District/off: 0752-3           User: jclarke                 Page 1 of 2                    Date Rcvd: Dec 04, 2013
                               Form ID: pdf006               Total Noticed: 58


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 06, 2013.
db/jdb        +Scott E Jeppson,    Celeste M Jeppson,     4043 Westlake Village Dr,     Winnebago, IL 61088-8031
aty           +Yalden, Olsen & Willette,     1318 E State St,     Rockford, IL 61104-2228
20478387      +ATG Credit,    Box 14895,    Chicago, IL 60614-8542
20478384      +American Express,    American Express Special Research,      Po Box 981540,    El Paso, TX 79998-1540
20955957       American Express Bank, FSB,     c o Becket and Lee LLP,     POB 3001,    Malvern, PA 19355-0701
20655626      +Atlas Acquisitions LLC (GE Money Bank),       294 Union St.,     Hackensack, NJ 07601-4303
20478389    ++BANK OF AMERICA,     PO BOX 982238,     EL PASO TX 79998-2238
              (address filed with court: Bank Of America,        Po Box 982235,    El Paso, TX 79998)
20478388    #+Baker & Miller,     29 N. Wacker Dr. Suite 500,      Chicago, IL 60606-3227
20478390      +Bergners,    Hsbc Retail Services/Attn: Bankruptcy,      Po Box 5263,    Carol Stream, IL 60197-5263
20478394    ++CITIBANK,     PO BOX 790034,    ST LOUIS MO 63179-0034
              (address filed with court: Citi,       CitiCard Credit Services/Centralized Ban,      Po Box 20507,
                Kansas City, MO 64195)
20478392      +Chase,    Po Box 24696,    Columbus, OH 43224-0696
20478396      +Citifinancial,    300 Saint Paul Pl,     Baltimore, MD 21202-2120
20478397      +First National Collection,     Box 51660,    Sparks, NV 89435-1660
20478398      +Fulton,Friedman & Gullace,     Box 2123,    Warren, MI 48090-2123
20478400      +Gulf Coast Medical,     Box 740771,    Cincinnati, OH 45274-0771
20478401      +Heavner,Scott, Beyers,     Box 740,    Decatur, IL 62525-0740
20478402      +Hsbc Bank,    Po Box 5253,    Carol Stream, IL 60197-5253
20478403      +Hsbc/bstby,    1405 Foulk Road,     Wilmington, DE 19803-2769
20478404      +Hudson Acceptance,    190 Moore St     Suite 201,    Hackensack, NJ 07601-7418
20478405    ++ILLINOIS DEPARTMENT OF REVENUE,       BANKRUPTCY DEPARTMENT,    P O BOX 64338,     CHICAGO IL 60664-0338
              (address filed with court: Il Department of Revenue,        Box 19035,    Springfield, IL 62794)
20478406      +Infinty Swedish American,     Box 3261,    Milwaukee, WI 53201-3261
20478408      +JC Christensen,    Box 519,    Sauk Rapids, MN 56379-0519
20478412      +Mutual Management,    Po Box 477,     Rockford, IL 61105
20478416      +Northland Group,    Box 390846,     Minneapolis, MN 55439-0846
20478417      +Northstar,    4285 Genesee St,    Buffalo, NY 14225-1943
20478435      +Northwest Bank of Rockford,     Timothy Horning,     3400 Rockton Ave,    Rockford, IL 61103-1942
20478418      +Nw Bank Rkfd,    3106 N Rockton Ave,     Rockford, IL 61103-2837
20478422      +Odpt/cbsd,    Attn: Centralized Bankruptcy,     P.O. Box 20507,     Kansas City, MO 64195-0507
20478423      +Parson Bishop National Collection,      Box 43202,    Cincinnati, OH 45243-0202
20478424      +R & B Receivables Mana,     860 S Northpoint Blvd,     Waukegan, IL 60085-8201
20478426      +Rnb-fields3/Macy’s,     Macy’s Bankruptcy Department,     Po Box 8053,    Mason, OH 45040-8053
20478427      +Rockford Mercantile,     2502 S. Alpine Rd,    Rockford, IL 61108-7813
20478428      +Sheridan ER Physicians,     Box 848508,    Hollywood, FL 33084-0508
20478429      +Stark Collection,    Box 45710,     Madison, WI 53744-5710
20478430      +Suntrust Bank,    Po Box 85052,     Richmond, VA 23285-5052
20478431      +Swedish American Hospital,     Box 1567,    Rockford, IL 61110-0067
20478432      +Target Credit Card (TC),     C/O Financial & Retail Services,      Mailstop BT      P.O. Box 9475,
                Minneapolis, MN 55440-9475
20478433      +Target Nb,    Po Box 673,    Minneapolis, MN 55440-0673
20478436      +Tri State Adjustment F,     440 Challenge St,     Freeport, IL 61032-2540
20798971      +Tri-State Adjustments,     Freeport, Inc.,    P.O. Box 882,    Freeport, IL 61032-0882
20478437       Uof IL Collections,     162 Henry Administrations Building,      Urbana, IL 61801
20478438      +Wfnnb/tsa,    Attention: Bankruptcy,     P.O. Box 182685,    Columbus, OH 43218-2685
20478413      +ncc,   245 Main St,     Scranton, PA 18519-1641

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
20478386     +E-mail/Text: BANKRUPTCY@ASSETACCEPTANCE.COM Dec 05 2013 01:06:28        Asset Acceptance,    Box 2036,
               Warren, MI 48090-2036
20582040     +E-mail/Text: BANKRUPTCY@ASSETACCEPTANCE.COM Dec 05 2013 01:06:28
               Asset Acceptance LLC assignee BANK OF AMERICA,      PO Box 2036,    Warren, MI 48090-2036
20676289     +E-mail/Text: BANKRUPTCY@ASSETACCEPTANCE.COM Dec 05 2013 01:06:28
               Asset Acceptance LLC assignee CITIBANK,      PO Box 2036,    Warren, MI 48090-2036
20542419     +E-mail/Text: bnc@atlasacq.com Dec 05 2013 01:05:42       Atlas Acquisitions LLC,     Attn: Avi Schild,
               294 Union St.,    Hackensack, NJ 07601-4303
20478391     +E-mail/Text: cms-bk@cms-collect.com Dec 05 2013 01:06:08        Capital Management,
               726 Exchange St. Suite 700,     Buffalo, NY 14210-1464
20478399     +E-mail/PDF: gecsedi@recoverycorp.com Dec 05 2013 01:14:46        Gemb/bassett Furniture,
               Attention: Bankruptcy,    Po Box 103104,    Roswell, GA 30076-9104
20478407     +E-mail/Text: cio.bncmail@irs.gov Dec 05 2013 01:05:59       IRS,    Box 7346,
               Philadelphia, PA 19101-7346
20478408     +E-mail/Text: ebankruptcy@arraysg.com Dec 05 2013 01:07:30        JC Christensen,    Box 519,
               Sauk Rapids, MN 56379-0519
20478409     +E-mail/Text: bnckohlsnotices@becket-lee.com Dec 05 2013 01:05:49        Kohls/capone,
               N56 W 17000 Ridgewood Dr,    Menomonee Falls, WI 53051-7096
20478410     +E-mail/PDF: resurgentbknotifications@resurgent.com Dec 05 2013 01:11:21        LVNV Funding,
               Box 740281,    Houston, TX 77274-0281
21006371      E-mail/PDF: resurgentbknotifications@resurgent.com Dec 05 2013 01:15:34
               LVNV Funding, LLC its successors and assigns as,     assignee of General Electric Capital,
               Corporation,    Resurgent Capital Services,    PO Box 10587,    Greenville, SC 29603-0587
          Case 13-81765            Doc 58       Filed 12/04/13 Entered 12/06/13 23:40:53                         Desc Imaged
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District/off: 0752-3                  User: jclarke                      Page 2 of 2                          Date Rcvd: Dec 04, 2013
                                      Form ID: pdf006                    Total Noticed: 58


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
20478411     +E-mail/Text: bankruptcydpt@mcmcg.com Dec 05 2013 01:06:33     Midland Funding,
               8875 Aero Dr Ste 200,   San Diego, CA 92123-2255
20478414     +E-mail/Text: bankruptcydepartment@ncogroup.com Dec 05 2013 01:07:02     NCO,    507 Prudential Rd,
               Horsham, PA 19044-2368
20478415     +E-mail/Text: bankrup@aglresources.com Dec 05 2013 01:05:31     Nicor,   Box 0632,
               Aurora, IL 60507-0632
21002482     +E-mail/Text: bankrup@aglresources.com Dec 05 2013 01:05:32     Nicor Gas,    Po box 549,
               Aurora,il 60507-0549
20478434     +E-mail/Text: bankruptcynotices@tdstelecom.com Dec 05 2013 01:05:35     TDS,    Box 94510,
               Palatine, IL 60094-4510
                                                                                             TOTAL: 16

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
20478385*      +American Express,    American Express Special Research,   Po Box 981540,   El Paso, TX 79998-1540
20478395*     ++CITIBANK,    PO BOX 790034,   ST LOUIS MO 63179-0034
               (address filed with court: Citibank Usa,     Citicorp Credit Services/Attn: Centraliz,
                 Po Box 20507,    Kansas City, MO 64195)
20478393*      +Chase,    Po Box 24696,   Columbus, OH 43224-0696
20478419*      +Nw Bank Rkfd,    3106 N Rockton Ave,   Rockford, IL 61103-2837
20478420*      +Nw Bank Rkfd,    3106 N Rockton Ave,   Rockford, IL 61103-2837
20478421*      +Nw Bank Rkfd,    3106 N Rockton Ave,   Rockford, IL 61103-2837
20478425     ##+Radiology Cont. of Rockford,    Box 4542,   Rockford, IL 61110-4542
                                                                                               TOTALS: 0, * 6, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 06, 2013                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 3, 2013 at the address(es) listed below:
              Carole J. Ryczek    on behalf of Trustee Joseph D Olsen carole.ryczek@usdoj.gov
              Carole J. Ryczek    on behalf of U.S. Trustee Patrick S Layng carole.ryczek@usdoj.gov
              Jason Kunowski     on behalf of Joint Debtor Celeste M Jeppson rockford@jordanpratt.com
              Jason Kunowski     on behalf of Debtor Scott E Jeppson rockford@jordanpratt.com
              Joseph D Olsen   Jolsenlaw@comcast.net, IL46@ECFCBIS.com
              Joseph D Olsen   on behalf of Trustee Joseph D Olsen Jolsenlaw@comcast.net, IL46@ECFCBIS.com
              Patrick S Layng    USTPRegion11.MD.ECF@usdoj.gov
              Timothy F. Horning    on behalf of Creditor   Northwest Bank of Rockford thmeyerhorning@aol.com
                                                                                              TOTAL: 8
